      Case 1-19-44421-ess       Doc 34     Filed 10/29/19    Entered 10/29/19 10:51:15




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK (Brooklyn)
 In re:
                                                       Chapter 13
 Helen Pardo De Figueroa
 aka Flora E Claros                                    Case No. 19-44421-ess
 aka Flora Calderon,

                                   Debtor.


                                    NOTICE OF SETTLEMENT


TO THE CLERK OF THE BANKRUPTCY COURT


   PLEASE TAKE NOTICE that that an Order of which the within is a true copy will be

presented for settlement to the Honorable Elizabeth S. Stong, U.S. Bankruptcy Judge, at the

United States Bankruptcy Court, 271-C Cadman Plaza East, Courtroom 3585, Brooklyn, NY

11201on November 5, 2019, at 9:30AM.



Dated: October 29, 2019             DAVID A. GALLO & ASSOCIATES LLP
       Nassau, New York             Attorneys for Movant
                                     By: /s/ Robyn E. Goldstein, Esq.
                                        Robyn E. Goldstein, Esq.
                                     99 Powerhouse Road- First Floor
                                     Roslyn Heights, NY 11577
                                     Telephone Number: (516) 583-5330
                                     Facsimile: (516) 583-5333
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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK (Brooklyn)
 In re:
                                                            Chapter 13
 Helen Pardo De Figueroa
 aka Flora E Claros                                         Case No. 19-44421-ess
 aka Flora Calderon,

                                        Debtor.


                     ORDER PURSUANT TO 11 U.S.C. § 362(d)
          MODIFYING THE AUTOMATIC STAY IMPOSED BY 11 U.S.C. § 362(a)

                Upon the motion, dated September 16, 2019 (the “Motion”), Modesto A. Claros

(“Movant”) for an order, pursuant to section 362(d) of title 11 of the United States Code (the

“Bankruptcy Code”) vacating the automatic stay imposed in the above-captioned case by section

362(a) of the Bankruptcy Code as to the Creditor’s interests in 108-24 41st Avenue, Corona, NY

11368 (the “Property”) to allow the Creditor’s enforcement of its rights in, and remedies in and to,

the Property; and due and proper notice of the Motion having been made on all necessary parties;

and the Court having held a hearing on the Motion on October 28, 2019; and there being no

opposition to the Motion, and upon all of the proceedings had before the Court; and after due

deliberation and sufficient cause appearing, it is hereby


                ORDERED that the Motion is granted as provided herein; and it is further


                ORDERED that the automatic stay imposed in this case by section 362(a) of the

Bankruptcy Code is vacated under section 362(d) of the Bankruptcy Code as to the Creditor’s

interests in the Property to allow the Creditor’s enforcement of its rights in, and remedies in and

to, the Property; and it is further
     Case 1-19-44421-ess         Doc 34    Filed 10/29/19     Entered 10/29/19 10:51:15




               ORDERED that the Creditor shall promptly report and turn over to the chapter 13

trustee any surplus monies realized by any sale of the Property.
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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK (Brooklyn)
 In re:
                                                         Chapter 13
 Helen Pardo De Figueroa
 aka Flora E Claros                                      Case No. 19-44421-ess
 aka Flora Calderon,

                                      Debtor.



                            CERTIFICATE OF SERVICE BY MAIL
                        STATE OF NEW YORK COUNTY OF NASSAU SS.:


    I, the undersigned, being duly sworn, say: I am not a party to the action, am over 18 years of
    age and reside in East Meadow, New York.

    On October 29, 2019 I served the within NOTICE OF SETTLEMENT, by mailing a copy
    to each of following persons at the last known address as set forth below:

    TO:

    Debtor                                            Norma E Ortiz
    Helen Pardo De Figueroa                           Ortiz & Ortiz LLP
    108-24 41 Avenue                                  32-72 Steinway Street
    Corona, NY 11368                                  Suite 402
                                                      Astoria, NY 11103




                                                                    /s/Catherine Galiano
                                                                    Catherine Galiano

Sworn to before me this 29th day of October, 2019

/s/Robyn E. Goldstein
Notary Public, State of New York
No. 02G06380368
Qualified in Queens County
Commission Expires September 4, 2022
